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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

BETH CHANEY MACNEILL,                                §
                                                     §
                   PLAINTIFF                         §
                                                     §
V.                                                   §         CIVIL ACTION NO. 4-14CV-242-0
                                                     §
NIRMAL JAYASEELAN, M.D.;                             §
DOMINGO K. TAN, M.D.; CHAD                           §
CARLTON, M.D.; TEXAS HEALTH                          §
HARRIS METHODIST HOSPITAL                            §
FORT WORTH; EMERGENCY MEDICINE                       §
CONSULTANTS LTD; BAYLOR ALL                          §
SAINTS MEDICAL CENTER AT                             §
FORT WORTH AND EMCARE, INC.,                         §
                                                     §
                   DEFENDANTS.                       §

                                    STIPULATION OF DISMISSAL

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

            Plaintiff and Defendant Chad Carlton, M.D. file this stipulation of dismissal under

FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii).

1.          Plaintiff is Beth Chaney MacNeill. Defendant is Chad Carlton, M.D.

2.          On April 8, 2014, Plaintiff sued defendant.

3.          Plaintiff moves to dismiss all claims against Chad Carlton, M.D. stemming from the

            medical care he provided to her in April 2012.

4.          Defendant, who has served an answer, agrees to this dismissal.

5.          This case is not a class action under FEDERAL RULE OF CIVIL PROCEDURE 23, a derivative

            action under Rule 23.1, or an action related to an unincorporated association under

            Rule 23.2.

6.          A receiver has not been appointed in this case.




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7.          This case is not governed by any federal statute that requires a court order for dismissal

            of the case.

8.          Plaintiff has not previously dismissed any federal or state court suit based on or including

            the same claims as those presented in this case.

9.          This dismissal is with prejudice.

                                                  Respectfully Submitted,



                                                  By:/s/Robert Hammer
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                                                      CHAD CARLTON, M.D.




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2014, I served each of the following counsel with a
copy of the motion electronically through the Court’s ECF system:

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